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 6                             IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Lawrence Warfield, Receiver,                 )   No. 03-2390-PHX-JAT
                                                  )
10                Plaintiff,                      )   ORDER
                                                  )
11   vs.                                          )
                                                  )
12                                                )
     Michael Alaniz, et al.,                      )
13                                                )
                  Defendant.                      )
14                                                )
                                                  )
15
16          Pending before the Court is the Receiver’s Motion for Clarification/Reconsideration.
17   (doc. 510). The Defendants responded and requested that the Court strike the Motion for
18   Clarification/Reconsideration. The Court now rules on the motions.
19          The Court will grant the Motion to Clarify but denies the Motion to Reconsider and
20   Motion to Strike. The Court clarifies the following:
21          (1)       The Receiver proved the existence of Ponzi scheme.
22          (2)       There was “actual intent,” by the transferors Dillie and/or MAF.
23          (3)       As a matter of law there was a fraudulent transfer.
24          (4)       The Court held that a material question of fact remains as to whether the
25   transferee Defendants are entitled to the defenses provided by statute, including the good
26   faith defense.
27          (5)       The burden is on the Defendants to prove their affirmative defenses.
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 1          (6)    The Court will issue an Order Modifying and Amending the language on pages
 2   26 and 27 of this Court’s Order dated August 1, 2006.
 3          IT IS SO ORDERED.
 4          IT IS FURTHER ORDERED consistent with the above, the Receiver’s Motion for
 5   Clarification/Reconsideration is denied in part and granted in part. (doc. 510).
 6          DATED this 5th day of September, 2006.
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